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                  Case  6:90-cr-00104-RP
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                                                                         M1\R          igBa
                                  UNITED STATES DISTRICT COURT
                                                                     CHARLES     .   VAGNER, Cedc
                                                                                           DeputV
                                                                                                         I
                                   WESTERN DISTRICT OF TEXAS         B    CL-)


                                            WACO DIVISION


            UNITED SPATES OF     AMERICA,                CRIMINAL No. W-90--CR-104

                              Respondent

             V.




            JON HAROLD ROYAL
                              Petitioners.


                                 GOVERNMENT'S MOTION TO DISMISS
                                       ORIGINAL INDICTMENT

                                                                          and
                 Comes now the United States of America, by its attorney,
                                                                 filed in the
            moves the Court to dismiss the Original Indictment
                                                                for the Court
            case at bar against this defendant, and would note
                                                                       in the
            that this defendant was convicted of offenses dontained
                                                                  needs to have
             Superseding Indicitment and that the Clerk of Court
                                                              files.
             the remaining Indictment dismissed to close her
                                                                       the Court
                  WHEREFORE, premises considered, the Government prays

             dismiss the Original Indictment against this defendant.
                                                       Respectfully submitted,

                                                       RONALD F. EDERER
                                                       United States Attorney


                                                 By:
                                                       STEVEN L S     ER
                                                       Assistant United States Attorney




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                      Case 6:90-cr-00104-RP Document 91 Filed 03/31/92 Page 2 of 2




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                      This is to certify that a copy of the foregoing government's

              Motion to Dismiss Original Indictment was mailed to the following
               this           'day of March, ].92.



                      Joseph M1 Layman
                      Attorney at Law
                      3.00 North Sixth Street
                      Suite 604
                      Waco, Texas 16701




                                                   By:

                                                             Assistant united states Attorney
                                                             727 E. tharango Blvd., A601
                                                             San Antonio, Texas 78206
                                                             TEL:   PTS 730-6500
                                                             COI4M: 512/229-6500




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